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                                    UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF LOUISIANA

ABBY OWENS, ET AL.                                      CIVIL ACTION NO. 3:21-cv-00242
  Plaintiffs
                                                        JUDGE WENDY B. VITTER
VERSUS
                                                        MAG. JUDGE SCOTT D. JOHNSON
LOUISIANA STATE UNIVERSITY, ET AL.
  Defendants

                  MEMORANDUM IN SUPPORT OF RULE 12(b)(6) MOTION TO DISMISS
                         PLAINTIFFS’ SECOND AMENDED COMPLAINT

           MAY IT PLEASE THE COURT:

           Defendant Jennie Stewart submits this memorandum in support of her Rule 12(b)(6)

motion to dismiss all claims alleged against her by plaintiffs in their Second Amended

Complaint 1 for plaintiffs’ failure to state a claim.

           Plaintiffs have alleged four counts of violations of Title IX by LSU and cannot assert those

claims against Stewart or any other individual defendant because Title IX claims may only be

asserted against “entities” such as LSU which receive federal funding. Rather than simply

pursuing their Title IX lawsuit against LSU, plaintiffs have opted to attempt to state Section

1983 claims against Stewart and other individually named defendants on the basis that these

defendants’ alleged failures to comply with Title IX violated the plaintiffs’ rights under the First

and Fourteenth Amendments. There are no cases in which the U.S. Supreme Court or the Fifth

Circuit Court of Appeals have ever held that a Title IX violation would also be a constitutional

violation for which an individual state actor would have personal liability. Stewart is therefore

entitled to qualified immunity from the Section 1983 claims.


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                               FACTS ALLEGED IN THE COMPLAINT

         Stewart will focus solely on the allegations made specifically against her in the Second

Amended Complaint.

         Stewart is named “in her official and personal capacity” as LSU’s Title IX Coordinator

from 2015 to March 2021. 2 Plaintiffs allege that she was acting within the course and scope of

her employment by LSU at all times described in the complaint. 3 Until 2018, Stewart was the

only employee staffing LSU’s Title IX Office. 4 She was expected to fulfill the roles of Title IX

Coordinator for the entire LSU System, the ADA campus coordinator for the Baton Rouge

campus, and the Clery Coordinator for the entire LSU system. 5

         The Husch Blackwell report attached by plaintiffs as Exhibit A to their complaint reflects

that Stewart provided a presentation on September 23, 2016, to LSU’s President, General

Counsel, and Chief Financial Officer stating that the Title IX office was severely understaffed and

underfunded and that at least $329,000 was needed in funding to hire a lead investigator, four

or five other investigators, and two graduate assistants. 6 LSU President Alexander agreed with

the recommendations, and Stewart immediately started drafting a job description for “lead

investigator.” 7 That position was not filled for another 19 months, and no additional resources

were ever provided by the LSU administration in response to the presentation. 8 The report also




2
  Id., ¶ 21.
3
  Id., ¶ 23.
4
  Id., ¶ 40.
5
  Id., ¶ 61.
6
  R.Doc. 22-1, pp. 42-43.
7
  Id., p. 43.
8
  Id.

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addressed a glaring problem regarding the Athletic Department’s failure to report complaints of

discrimination to the Title IX office overseen by Stewart. 9

        Each individual plaintiff makes the following factual allegations:

        Calise Richardson: Richardson alleges that she was raped by a football recruit in 2015, 10

that she was groped at an off-campus bar in October 2016, 11 and that a football player

attempted to rape her at her apartment in the fall of 2016. 12 Richardson makes no allegations

of fact against Stewart except for alleging, in a single paragraph, that Stewart and others had

“specific knowledge of the pervasive sex discrimination and retaliation she and others

suffered.” 13 No other allegations identify the source of this “specific knowledge.”

        Ashlyn Robertson: Robertson alleges that she was raped by a football player in January

2016. 14 Robertson makes no allegations of fact against Stewart except for alleging that Stewart

“concealed the name of Robertson’s assailant from Title IX records.” 15

        Samantha Brennan: Brennan alleges no actions by Stewart.

        Abby Owens: Owens alleges that she was raped by a football player in 2016. 16 She

transferred to the University of Georgia in January 2018. 17 On May 20, 2019, Owens contacted

LSU’s Title IX office to ask for a copy of her report after she spoke to a reporter. 18 Two days

later, she alleges that Stewart told her that Stewart had heard about the rape but did not move



9
  R.Doc. 182, ¶¶. 63-68.
10
   Id., ¶¶ 126-130.
11
   Id., ¶¶ 152-156.
12
   Id., ¶¶ 182-188.
13
   Id., ¶ 240(a).
14
   Id., ¶¶ 243-248.
15
   Id., ¶ 287(c).
16
   Id., ¶¶ 328-333.
17
   Id., ¶ 346.
18
   Id., ¶ 349-51.

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forward with an investigation because the Athletic Department did not provide the name of

Owens’ assailant. 19 On August 17, 2020, Stewart responded to a public records request stating

that the Title IX office had no record of a Title IX case for Owens. 20

         Elisabeth Andries: Andries alleges that she was assaulted on a fraternity bus trip in

October 2016. 21 She alleges that the same student assaulted her again in her apartment after

she picked him up from a bar in July 2017. 22 On the first day of classes in the spring 2019

semester, Andries saw her assailant sitting in one of her classes. She filed complaints and

sought a no-contact order. On April 2, 2019, Stewart is alleged to have told Andries that there

was no reason for a no-contact order since Andries had not spoken to her assailant since July

2017. 23 A subsequent Title IX investigation concluded that the assailant had violated LSU’s Title

IX policy. 24 The assailant sought to appeal and was granted two extensions of time to submit

his written appeal. The appeal was denied by Stewart on July 22, 2019. 25 Stewart notified

Andries of the outcome several days later. 26 Andries makes no further allegations against

Stewart.

         Jade Lewis: Lewis alleges that she was assaulted by an LSU football player on at least six

occasions between 2017 and 2018. 27 No report was provided by the Athletic Department to

the Title IX office until April 2018. 28 No specific allegations are made against Stewart.



19
   Id., ¶ 353.
20
   Id., ¶¶ 357-58.
21
   Id., ¶¶ 364-373.
22
   Id., ¶¶ 376-77.
23
   Id., ¶ 405.
24
   Id., ¶ 411.
25
   Id., ¶ 420.
26
   Id., ¶ 421.
27
   Id., ¶¶ 456-458.
28
   Id., ¶ 486.

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         Kennan Johnson: Johnson alleges no acts by Stewart.

         Jane Doe: Doe makes no allegations against Stewart except for alleging that Stewart

and others “had specific knowledge” of her harassment. 29

         Corinn Hovis: Hovis alleges that she was raped by an LSU football player outside of an

off-campus bar on January 24, 2020. 30 Stewart met with Hovis on January 31, 2020, to discuss

reporting options. 31 On March 6, 2020, Title IX Investigator Jeff Scott concluded that Hovis’

assailant had violated LSU Title IX policy. 32 LSU disciplined the assailant in May 2020 by issuing

a no-contact directive order and suspending him for three weeks. 33 The assailant allegedly

violated the no-contact directive twice before transferring to another university in August

2020. 34 Stewart is alleged to have failed to take disciplinary action for violations of the no-

contact directive. No other allegations are made against Stewart.

         Sarah Beth Kitch: Kitch alleges that she was subjected to sexual harassment by a

professor prior to graduating with a Ph.D. in 2014, years before Stewart was ever even hired by

LSU. 35 Kitch alleges she attempted to report the alleged abuse to LSU in August 2019 after “her

career was already over” but that she did not receive any emails or documentation about her

contacts with the Title IX office. 36 She alleges no specific acts by Stewart.




29
   Id., ¶ 649.
30
   Id., ¶¶ 652-660.
31
   Id., ¶ 670.
32
   Id., ¶ 677.
33
   Id., ¶ 679.
34
   Id., ¶¶ 680, 682.
35
   Id., ¶¶ 699-724.
36
   Id., ¶¶ 733-736.

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                                            LEGAL STANDARD

        To survive a Rule 12(b)(6) motion to dismiss, plaintiffs must plead “enough facts to state

a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 697, 129 S.Ct.

1937, 173 L.Ed.2d 868 (2009); Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S.Ct. 1955, 167

L.Ed.2d 929 (2007). A claim is facially plausible when a plaintiff pleads facts that allow the court

to “draw the reasonable inference that the defendant is liable for the misconduct alleged.”

Ashcroft at 678, 129 S.Ct. 1937. A court must accept all well-pleaded facts as true and must

draw all reasonable inferences in favor of plaintiffs. Lormand v. US Unwired, Inc., 565 F.3d 228,

239 (5th Cir. 2009); Baker v. Putnal, 75 F.3d 190, 196 (5th Cir. 1986).

        A legally sufficient complaint must establish more than a “sheer possibility” that a

plaintiff’s claim is true. Iqbal, 556 U.S. at 678, 129 S.Ct. 1937. It need not contain detailed

factual allegations, but it must go beyond labels, legal conclusions, or formulaic recitations of

the elements of a cause of action. Id. In other words, the face of the complaint must contain

enough factual matter to raise a reasonable expectation that discovery will reveal evidence of

each element of the plaintiff’s claim. Lormand, 565 F.3d at 257. If there are insufficient factual

allegations to raise a right to relief above the speculative level, or if it is apparent from the face

of the complaint that there is an insuperable bar to relief, the claim must be dismissed.

Twombly, 550 U.S. at 555, 127 S.Ct. 1955.

                                        LAW AND ARGUMENT 37

        Of the seven counts stated in the Second Amended Complaint, four (Counts I-IV) are

stated purely against LSU alleging Title IX violations. Stewart is not a defendant to those Title IX

37
  In addition to the arguments presented in this memorandum, Stewart adopts and incorporates all arguments
presented by the other defendants in the motions to dismiss filed by those defendants.

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counts. The remaining three counts assert causes of action under 42 U.S.C. § 1983 against

Stewart and other individual defendants solely in their individual capacities.

           The very limited allegations of fact against Stewart are insufficient to state any viable

Section 1983 claim. All claims against Stewart must be dismissed.

           I.     Plaintiffs’ Section 1983 claims against Stewart are prescribed.

           Section 1983 does not contain a statute of limitations, so courts must borrow an

appropriate limitations period from state law. Federal courts in Louisiana apply the one-year

prescriptive period set forth in La. C.C. art. 3492 to Section 1983 claims brought against

Louisiana state officials. Elzy v. Roberson, 868 F.2d 793, (5th Cir. 1989).

           The plaintiffs filed their original complaint in this matter on April 26, 2021. 38 Any claims

related to actions by Stewart more than one year before the filing of suit, or prior to April 26,

2020, are prescribed and must be dismissed. None of the plaintiffs were assaulted or harassed

after April 26, 2020, and only two plaintiffs (Owens and Hovis) allege that Stewart did anything

at all after April 26, 2020. All Section 1983 claims against Stewart should be dismissed as

prescribed.

           II.    Alternatively, Plaintiffs’ three Section 1983 claims against Stewart should be
                  dismissed on the basis of qualified immunity.

           Counts V, VI, and VII respectively allege violations of the First Amendment right to free

speech, the Fourteenth Amendment right to equal protection under the law, and the

Fourteenth Amendment right to due process. These claims are all asserted through the

procedural vehicle provided by 42 U.S.C. § 1983.



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       Section 1983 provides a private right of action against parties acting “under color of any

statute, ordinance, regulation, custom, or usage, of any State” to redress the deprivation of

rights secured by the United States Constitution or federal law." Bauer v. Texas, 341 F.3d 352,

357 (5th Cir. 2003) (quoting City of St. Louis v. Praprotnik, 485 U.S. 112, 121, 108 S.Ct. 915, 99

L.Ed. 2d 107 (1988)). Section 1983 “is not itself a source of substantive rights” but merely

provides “a method for vindicating federal rights elsewhere conferred.'" Albright v. Oliver, 510

U.S. 266, 271, 114 S.Ct. 807, 127 L.Ed. 2d 114 (1994) (quoting Baker v. McCollan, 443 U.S. 137,

144 n.3, 99 S.Ct. 2689, 61 L.Ed. 2d 433 (1979)).

       To state a Section 1983 claim, a plaintiff must (1) allege a violation of a right secured by

the Constitution or laws of the United States and (2) demonstrate that the alleged deprivation

was committed by a person acting under color of state law. Whitley v. Hanna, 726 F.3d 631,

638 (5th Cir. 2013) (quoting James v. Tex. Collin Cty., 535 F.3d 365, 373 (5th Cir. 2008).

       Qualified immunity is an affirmative defense which may be pleaded by a government

employee in response to any Section 1983 claim. “Qualified immunity attaches when an

official’s conduct does not violate clearly established statutory or constitutional rights of which

a reasonable person would have known.” White v. Pauly, 137 S.Ct. 548, 551, 196 L.Ed. 2d 463

(2017) (quoting Mullenix v. Luna, 136 S.Ct. 308, 308, 193 L.Ed. 255 (2015)).                 It “gives

government officials breathing room to make reasonable but mistaken judgments and protects

all but the plainly incompetent or those who knowingly violate the law.” Ashcroft v. al-Kidd,

563 U.S. 731, 743 (2011). [Emphasis added.] Courts will not deny immunity unless “existing

precedent … placed the statutory or constitutional question beyond debate.” Id.; Whitley, 726

F.3d at 638 (quoting Ashcroft). A plaintiff seeking to overcome qualified immunity bears the


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burden to show “(1) that the official violated a statutory or constitutional right, and (2) that the

right was ‘clearly established’ at the time of the challenged conduct.” Id. “Clearly established

law” must be “particularized to the facts of a case.” Samples v. Vadzemnieks, 900 F.3d 655, 662

(5th Cir. 2018). While this does not require a prior case “directly on point,” “precedent must

still put the underlying question beyond debate.” Id. (citing Mullenix v. Luna, 136 S.Ct. 305, 308

(2015)).

        As set forth in the following sections, Stewart is entitled to qualified immunity on each

of the three counts pled against her.

                 a. Count V – “First Amendment Retaliation”

        Plaintiffs allege generally that they exercised their constitutionally protected right to

freedom of speech by reporting sexual misconduct to LSU employees and by criticizing LSU’s

handling of their complaints. 39 They then allege that all individual defendants, including

Stewart, “attempt[ed] to regulate the content of Plaintiffs’ speech” 40 because all of the

individual defendants “did not want to address and properly respond to Plaintiffs’ disclosures of

abuse as it would have negatively impacted the reputation of both the LSU football program

and the school.” 41

        The First Amendment prohibits not only direct limits on individual speech but also

adverse government action against an individual in retaliation for the exercise of protected

speech activities. Cass v. City of Abilene, 814 F.3d 721, 729 (5th Cir. 2016) (citing Keenan v.

Tejeda, 290 F.3d 252, 258 (5th Cir. 2002)). To establish a First Amendment retaliation claim, a



39
   R.Doc. 182, ¶ 1012.
40
   Id., par. 1015
41
   Id., par. 1017.

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plaintiff must show that (1) she was engaged in a constitutionally protected activity; (2) the

defendant’s actions caused her to suffer an injury that would chill a person of ordinary firmness

from continuing to engage in that activity; and (3) the defendant’s adverse actions were

substantially motivated by the constitutionally protected conduct. Id. With respect to the

second element, to demonstrate a showing of injury, a plaintiff must show that her exercise of

free speech has been curtailed. Keenan, 290 F.3d at 259.

       While plaintiffs allege that they engaged in constitutionally protected activities by

complaining of sexual harassment or discrimination under Title IX, there are zero reported

cases from the U.S. Supreme Court or within the U.S. Fifth Circuit in which a state actor’s

alleged failure to properly investigate a Title IX complaint was deemed to violate an individual’s

First Amendment rights. These claims fail on the second prong of the qualified immunity

analysis because there is no clearly established case law putting defendants on notice that their

actions were violations of the plaintiffs’ rights. Id. While plaintiffs cite several Supreme Court

cases for the proposition that students have First Amendment rights, none of those cases

involve Title IX complaints. Hazelwood Sch. Dist. v. Kuhlmeier, 484 U.S. 260 (1988), involved a

claim by staff members of a high school newspaper who alleged that their rights to freedom of

the press had been violated. Healy v. James, 408 U.S. 169 (1972), involved claims by college

students who alleged that their rights to free association had been violated by their university’s

failure to recognize a campus organization. Papish v. Board of Curators, 410 U.S. 667 (1973),

involved the suspension of a student who distributed publications on campus which contained

alleged “indecent speech.” None of these cases clearly establish that the filing of a Title IX

complaint constitutes “speech” protected by the First Amendment. None of these cases would


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have provided any reasonable government official with notice that failing to respond to a Title

IX complaint would be a violation of a student’s First Amendment rights.

       Plaintiffs have no right to assert a Title IX claim against Stewart individually. They try to

evade that prohibition by classifying their complaints as “free speech.” In the absence of any

clearly established case law, their attempts at creative pleading must be denied because

Stewart is entitled to qualified immunity.

               b. Count VI – Denial of Equal Protection

       The Fourteenth Amendment in part provides as follows:

       No State shall make or enforce any law which shall abridge the privileges or
       immunities of citizens of the United States; nor shall any State deprive any
       person of life, liberty, or property, without due process of law; nor deny to any
       person within its jurisdiction the equal protection of the laws.

       To state a claim of discrimination under the Fourteenth Amendment, a plaintiff must

allege that (1) she received treatment different from that received by similarly situated

individuals and (2) the unequal treatment stemmed from a discriminatory intent. Fennell v.

Marion Indep. Sch. Dist., 804 F.3d 398, 412 (5th Cir. 2015) (alleging discrimination based on

race). To establish the necessary discriminatory intent, a plaintiff must show “that the decision

maker singled out a particular group for disparate treatment and selected his [or her] course of

action at least in part for the purpose of causing its adverse effect on an identifiable group.” Id.

(citing Priester v. Lowndes Cty., 354 F.3d 414, 424 (5th Cir. 2004)). Allegations of discriminatory

intent that are merely conclusory, without reference to specific facts, will not suffice to

overcome a motion to dismiss. Id.

       No allegation against Stewart suggests any intent by her to discriminate against any

plaintiff because of her gender. Stewart, like the plaintiffs, is a woman. No basis is provided to

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conclude that Stewart harbored discriminatory intent against other women. Stewart is not

alleged to have made any comments reflecting discriminatory animus against women. Plaintiffs

do not even allege disparate treatment in the handling of Title IX complaints; there is no

allegation that the Title IX complaints of any woman were treated differently from any man

who filed complaints.

       Stewart is entitled to dismissal of this count based on qualified immunity under the first

prong of the qualified immunity analysis. Alternatively, she is entitled to qualified immunity

under the second prong because there are no reported cases by the U.S. Supreme Court or the

U.S. Fifth Circuit which would place a reasonable government official on notice that the

Stewart’s actions would violate a student’s rights under the Fourteenth Amendment.

               c. Count VII – Denial of Procedural and Substantive Due Process

                        a. Procedural Due Process

       To establish a procedural due process claim under the Fourteenth Amendment, a

plaintiff must show that (1) she was deprived of a life, liberty, or property interest protected by

the Fourteenth Amendment and (2) the administrative procedures attendant to the deprivation

did not satisfy the constitutional requirements of procedural due process. Wheelahan v. City of

New Orleans, No. 19-11720, 2020 U.S. Dist. LEXIS 54571, at pp. 42-43 (E.D. La. 3/30/20) (citing

Welch v. Thompson, 20 F.3d 636, 639 (5th Cir. 1994)).

       No plaintiff has alleged deprivation of any life, liberty, or property interest

contemplated by the Fourteenth Amendment. The plaintiffs generally allege that they were

deprived of “their liberty and property interest in accessing educational opportunities or




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benefits.” 42     But “most case law involving due process in the educational setting concerns

student dismissals or suspensions from academic institutions.” Smith v. Davis, 507 Fed. Appx.

359, 362. (5th Cir. 2013). None of the plaintiffs in the instant case were dismissed or suspended

from school. To the extent these plaintiffs allege a new theory that something other than

discipline or dismissal could deprive them of a protected property interest in their education,

there are no cases from the U.S. Supreme Court or within the Fifth Circuit which clearly

establish that right. This is, once again, a res nova claim. There is no case law which would

have placed a reasonable government official on notice that Stewart failed to provide any

plaintiff with constitutionally required administrative procedures which were denied. Stewart

is entitled to qualified immunity under both prongs of the analysis.

b. Substantive Due Process

In addition to procedural due process, the Fourteenth Amendment protects substantive

due process rights.        The substantive component of due process bars certain arbitrary

government actions “even if their implementation is fair.” Pham v. Univ. of La. At Monroe, 194

F.Supp.3d 534, 544. (W.D. La. 2016). In determining whether government action is “arbitrary”

in the constitutional sense, a Court asks whether the government action “shocks the

conscience.” Id. “’[O]nly the most egregious conduct’ is arbitrary in the constitutional sense.”

Id. at 544-45 (quoting Cty. of Sacramento v. Lewis, 523 U.S. 833, 845-46 (1998)).

            None of the actions allegedly committed by Stewart rise to the level “egregiousness”

sufficient to provide any plaintiff with a claim. Moreover, there is once again no clearly

established case law which would inform any reasonable government official that any of


42
     Id, ¶ 446.

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Stewart’s actions would be a violation of any plaintiffs’ right to substantive due process.

Stewart is again entitled to qualified immunity.


                                          CONCLUSION

       Plaintiffs may pursue whatever non-prescribed Title IX claims they wish against LSU. But

Plaintiffs invite this Court to make new law and provide new Title IX-related claims against

individual defendants through Section 1983, which no court has ever done before. That

invitation should be rejected. All Section 1983 claims asserted against Defendant Jennie

Stewart should be dismissed pursuant to F.R.C.P. 12(b)(6), with prejudice, and at plaintiffs’ cost.



                                             Respectfully submitted,

                                             JEFF LANDRY
                                             ATTORNEY GENERAL

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